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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                            Case No. 24-mj-5
DAVID KENNEDY HOMOL,

                      Defendant.


                       GOVERNMENT’S SUGGESTION OF DEATH
                    AND MOTION FOR ABATEMENT OF PROSECUTION
        The United States, through undersigned counsel, respectfully seeks abatement of

prosecution in this matter.

        The government recently received a police report from the Panama City Police Department

(Case Number 2024-028096). According to the report, Mr. Homol passed away on April 18, 2024.

His passing has been confirmed by defense counsel.

        A defendant’s death is a basis for abatement of all prosecution proceedings from their

inception. Durham v. United States, 401 U.S. 481, 483 (1971).

        WHEREFORE, the United States requests that this prosecution be abated.


                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY
                                                D.C. Bar Number 481052
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                        By:   /s/ Nathaniel K. Whitesel
                              NATHANIEL K. WHITESEL
                              Assistant United States Attorney
                              DC Bar No. 1601102
                              601 D Street NW
                              Washington, DC 20530
                              nathaniel.whitesel@usdoj.gov
                              (202) 252-7759

                              /s/ Elizabeth N. Eriksen
                              VA Bar No. 72399
                              Trial Attorney, Detailee
                              United States Attorney’s Office
                              District of Columbia
                              601 D Street, N.W.
                              Washington, D.C. 20530
                              (202) 616-4385
                              elizabeth.eriksen2@usdoj.gov




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